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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

VALERIE MILAN MENDOZA         §
                              §
V.                            §                      CIVIL ACTION NO. 4:17-CV-01038
                              §
THE TRAVELERS HOME AND MARINE §
INSURANCE COMPANY,            §
CHARLESTON PRINCETON II, AND  §
CLEVELAND STIFF, JUNIOR       §

                         DEFENDANT’S NOTICE OF REMOVAL

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       COMES NOW, The Travelers Home and Marine Insurance Company, one of the

defendants in the above entitled and numbered cause, and files this its notice of removal,

and in support thereof would respectfully show unto this Honorable Court as follows:

                                          I.
                                  STATE COURT ACTION

       This case was initially filed in the 113th Judicial District Court of Harris County,

Texas. The state court action is styled: Cause No. 2017-13247; Valerie Milan Mendoza

v. The Travelers Home and Marine Insurance Company, Charleston Princeton II, and

Cleveland Stiff, Junior, originally filed in the 113th Judicial District Court of Harris County,

Texas.

                                             II.
                                          PARTIES

       The plaintiff, Valerie Milan Mendoza, is, upon information and belief, an individual

citizen and resident of the State of Texas.
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       The defendant, The Travelers Home and Marine Insurance Company

(“Travelers”), is a Connecticut corporation with its principal place of business in the State

of Connecticut.

       The defendant, Charleston Princeton II (“Princeton”), is an individual resident and

citizen of the State of Wisconsin. Further, Princeton has been a resident and citizen of

the State of Wisconsin at all times between the date on which this lawsuit was filed and

the filing of this notice of removal. Significantly, however, even in the unlikely event it is

determined that Princeton is or was a resident and citizen of the State of Texas at any

point in time between the date on which this lawsuit was filed and the filing of this notice

of removal, Princeton, and the plaintiff’s claims against Princeton have been improperly

joined to this suit. Accordingly, Princeton’s citizenship should be disregarded for the

purpose of determining this Court’s jurisdiction over the plaintiff’s claims against

Travelers.

       The defendant, Cleveland Stiff, Junior (“Stiff”), is, upon information and belief, an

individual resident and citizen of the State of Texas. Significantly, however, Stiff, and the

plaintiff’s claims against Stiff, have been improperly joined to this suit. Accordingly, Stiff’s

citizenship should be disregarded for the purpose of determining this Court’s jurisdiction

over the plaintiff’s claims against Travelers.

                                            III.
                                       JURISDICTION

       This Court has jurisdiction over the subject matter of this cause pursuant to 28

U.S.C. § 1332 because this is a civil action in which the matter in controversy exceeds

the sum or value of $75,000, exclusive of interest and costs, and represents a dispute for

which all parties or all properly joined parties are citizens of different states. Here, the
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plaintiff has improperly joined Princeton and Stiff to this suit. As such, even in the unlikely

event it is determined that Princeton is or was a resident and citizen of the State of Texas

at any point in time between the date on which this lawsuit was filed and the filing of this

notice of removal, Princeton’s citizenship should nonetheless be disregarded for the

purpose of determining this Court’s jurisdiction over the plaintiff’s claims against

Travelers. Additionally, for the same reasons, Stiff’s citizenship should be disregarded

for the purpose of determining this Court’s jurisdiction over the plaintiff’s claims against

Travelers. As the plaintiffs are residents and citizens of Texas and Travelers is a citizen

of Connecticut, this cause is removable pursuant to 28 U.S.C. § 1441 and § 1446 and the

case law construing and applying same.

       A. The doctrine of improper joinder is an exception to the rule of complete
          diversity entitling a defendant to remove to a federal forum unless an in-
          state defendant has been properly joined.

       A defendant may remove an action to federal court if that court would have original

jurisdiction over the case. 28 U.S.C. § 1441(a). To establish subject-matter jurisdiction

based on diversity, complete diversity of citizenship must exist among the parties, and

the amount in controversy must exceed $75,000.00. 28 U.S.C. § 1332. However, under

the doctrine of improper joinder, a case may be removed despite the presence of a non-

diverse defendant if that defendant was joined improperly, i.e., without a legal basis to do

so. Barclay v. State Farm Lloyds, 2015 U.S. Dist. LEXIS 38091, at *3 (S.D. Tex. 2015).

“The doctrine of improper joinder…prevents defeat of federal removal jurisdiction

premised on diversity by the presence of an improperly joined, non-diverse defendant.”

Dalton v. State Farm Lloyd’s, Inc., 2013 U.S. Dist. LEXIS 86490, *14-15 (S.D. Tex. 2013).

Citizenship of an improperly joined party is totally disregarded in determining the court’s
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subject matter jurisdiction. Smallwood v. Illinois Cent. R.R. Co., 385 F.3d 568, 572 (5th

Cir. 2003).

       “A defendant is improperly joined if the moving party establishes that (1) the

plaintiff has stated a claim against a diverse defendant that he fraudulently alleges is

nondiverse, or (2) the plaintiff has not stated a claim against a defendant that he properly

alleges is nondiverse.” Int’l Energy Ventures Mgmt., L.L.C. v. United Energy Group, Ltd.,

818 F.3d 193, 199 (5th Cir. 2016) (citing Smallwood, 385 F.3d at 573). A defendant

claiming improper joinder based on the latter standard must demonstrate "that there is no

possibility of recovery by the plaintiff against [a nondiverse] defendant, which stated

differently means that there is no reasonable basis for the district court to predict that the

plaintiff might be able to recover against [a nondiverse] defendant.” Int’l Energy Ventures,

838 F.3d at 200 (quoting Smallwood, 385 F.3d at 573). A “reasonable basis” means more

than a mere hypothetical basis. Centro Cristiano Cosecha Final, Inc. v. Ohio Ca. Ins.

Co., 2011 U.S. Dist. LEXIS 6541 (S.D. Tex. 2011).

       To assess whether a plaintiff has a reasonable basis of recovery under state law,

the federal pleading standard, not the Texas pleading standard, should be applied. Int’l

Energy Ventures, 838 F.3d at 208. Thus, a Rule 12(b)(6)-type analysis is required to

determine whether the plaintiff’s complaint states a claim against the in-state defendants

in this case. Id.

       B. The plaintiff has failed to allege a reasonable basis for the Court to predict
          the plaintiff can recover against Princeton or Stiff.

       As shown below, the plaintiff has failed to allege any specific facts against

Princeton or Stiff that would lead to individual liability and have thus failed to allege a

reasonable basis for predicting that state law would allow recovery against Princeton or
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Stiff. Instead, the plaintiff has articulated only non-specific and conclusory allegations

against Princeton and Stiff together with near-verbatim quotations of statutory provisions

the plaintiff claims Princeton and Stiff violated in an effort to defeat diversity jurisdiction.

In essence, the plaintiff’s factual allegations against Princeton fail to identify anything

Princeton did wrong other than estimate the plaintiff’s alleged loss to be less than what

the plaintiff desired. The plaintiff’s factual allegations against Stiff are even more sparse,

as the plaintiff alleges only that Stiff sold the policy at issue to the plaintiff and represented

to the plaintiff that the policy included wind and hailstorm coverage.

       While certain paragraphs in the plaintiff’s original petition appear to be directed at

Princeton and Stiff, for the most part they merely track the statutory provisions the plaintiff

claims Stiff violated. See plaintiffs’ original petition. The only allegations relating to

Princeton that are arguably factual are found in paragraph nos. 17-19, which read as

follows:

       17. Travelers assigned or hired Princeton to adjust the claim.

            a. Princeton had a vested interest in undervaluing the claims assigned
               to him by Travelers in order to maintain his employment. The
               disparity in the number of damaged items in his report compared to
               that of Plaintiff’s public adjuster’s is evidence of fraud on the part of
               Princeton. The valuation of damages that were included in
               Princeton’s report compared to Plaintiff’s public adjuster’s is also
               evidence of fraud on the part of Princeton.

            b. Furthermore, Princeton was aware of Plaintiff’s deductible before
               visiting the Property to conduct the inspection. Princeton had
               advanced knowledge of what amount of damages he needed to find
               in order to either deny the claim or find the claim below the
               deductible. Princeton failed to even go inside the Property to
               investigate for interior damages.

            c. Princeton made misrepresentations as to the amount of damage
               Plaintiff’s Property sustained as well as misrepresentations
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               regarding how much it would cost to repair the damage to Plaintiff’s
               Property.

            d. Princeton made further misrepresentations to Plaintiff during his
               inspection. Princeton used his expertise to fabricate plausible
               explanations for why visible damage to Plaintiff’s Property would not
               be covered under the policy. Such misrepresentations include but
               are not limited to indications of damage to the Property owing from
               wear and tear, damage from a previous claim, and damage of a type
               not consistent with the type of claim that was made, damage
               amounts falling below the Policy deductible, and damages were
               limited to “window beading.”

       18. Travelers, though its agents, namely Princeton, conducted a
           substandard and improper inspection and adjustment of the Property,
           which yielded grossly inaccurate and unrealistic assessments of the
           cause, extent, and dollar amount of damage to the Property.

       17. The initial adjustment of the claim occurred on or around June 1, 2015.
           Princeton found that there was no damage from a covered peril to the
           roof of the property, and simply indicated that the total amount of
           damages discovered based on his “research to date” consisted of
           “damaged window beading” worth $172.04.

See id. at ¶¶ 15-17. With respect to Stiff, the only factual allegations against Stiff are as

follows:

       “Travelers and its agent Stiff sold the Policy, insuring the Property, to
       Plaintiff” and that “Travelers or its agent represented to Plaintiff that the
       Policy included wind and hailstorm coverage for damage to Plaintiff’s
       home.”

See id. at ¶ 12. All other allegations in the plaintiff’s original petition specifically against

Princeton and Stiff merely track the language of the various statutory provisions the

plaintiff claims Princeton and Stiff violated. As discussed below, federal district courts in

Texas, including in the Southern District of Texas, routinely hold that allegations made

against agents and adjusters functionally similar to the ones made against Princeton and

Stiff herein are insufficient to allege a reasonable basis for the court to predict that a

plaintiff may be able to recover against the agent or adjuster, and have thus denied
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remand. See e.g. Barclay, 2015 U.S. Dist. LEXIS 38091; Young v. Travelers Pers. Sec.

Ins. Co., 2016 U.S. Dist. LEXIS 105397 (S.D. Tex. 2016); Johnson v. Travelers Home &

Marine Ins. Co., 2016 U.S. Dist. LEXIS 99281 (S.D. Tex. 2016); Okenkpu v. Allstate Tex.

Lloyd’s, 2012 U.S. Dist. LEXIS 41705 (S.D. Tex. 2012.)

       C. Courts in the Southern District have found improper joinder on numerous
          occasions in cases nearly identical to this one.

       Courts in the Southern District of Texas have found improper joinder in cases

nearly identical to this one involving nearly identical allegations against adjuster

defendants and agent defendants on the ground that the plaintiff failed to establish a

cause of action against the adjuster. See e.g. Barclay, 2015 U.S. Dist. LEXIS 38091

(Miller, J.) (remand denied because the plaintiff failed to establish a cause of action

against either the agent defendant who assured the plaintiff she was adequately insured

and that the policy at issue provided certain coverages that it allegedly did not or the

adjuster defendant who allegedly found and made up excuses to delay and deny paying

the plaintiff’s claim, made false statements pertaining to coverage of insurance, failed to

properly adjust the claim, and summarily denied the claim with obvious knowledge and

evidence of a covered peril); Johnson, 2016 U.S. Dist. LEXIS 99281 (Miller, J.) (remand

denied because plaintiff failed to establish a cause of action against the adjuster

defendant who allegedly performed an outcome oriented and unreasonable

investigation); Young, 2016 U.S. Dist. LEXIS 105397 (Harmon, J.) (remand denied

because the plaintiff failed to establish a reasonable basis for the Court to predict that the

plaintiff might be able to recover against the adjuster when he alleged that the adjuster

made numerous errors in estimating the value of the plaintiff’s claim which were designed

to intentionally minimize and underpay the loss incurred by the plaintiff); Okenkpu, 2012
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U.S. Dist. LEXIS 41705 (Harmon, J.) (remand denied because the plaintiff failed to

establish a cause of action against the adjuster defendant who allegedly conducted

substandard inspections of the plaintiff’s property and spent an insufficient amount of time

inspecting the property as evidenced by his report which failed to include all of the

damages noted upon inspection and grossly undervalued those damages); Centro

Cristiano Cosecha Final, Inc., 2011 U.S. Dist. LEXIS 6541 (Harmon, J.) (remand denied

because the plaintiff failed to establish a cause of action against the adjuster defendant

who allegedly failed to fully quantify the plaintiff’s damages, conduct a thorough

investigation of the claim, fairly evaluate and adjust the plaintiff’s claim, and provide the

plaintiff with a reasonable explanation as to why the insurance company was not

compensating the plaintiff for the full value of the plaintiff’s covered losses); Finkelman v.

Liberty Mut. Fire Ins. Co., 2010 U.S. Dist. LEXIS 56813 (S.D. Tex. 2010) (Lake, J.)

(remand denied because the plaintiff failed to establish a cause of action against the

adjuster defendant who allegedly was assigned to adjust the plaintiff’s claim and, together

with the insurance company, wrongfully denied the plaintiff’s claim for property repairs,

underpaid some of the plaintiff’s claim by not providing full coverage under the policy, and

underestimated damages during her investigation); Centaurus Gf Cove v. Lexington Ins.

Co., 2010 U.S. Dist. LEXIS 67391 (S.D. Tex. 2010) (Miller, J) (remand denied because

the plaintiff failed to establish a cause of action against the adjuster defendant who

allegedly traveled to the property site in question and conducted an inadequate

investigation regarding the damages).

       This case is similar, if not substantively identical, to the Barclay case. See Barclay,

2015 U.S. Dist. LEXIS 38091. In Barclay, Barclay sued State Farm, the agent who sold
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her the policy, and the adjuster who was allegedly involved in adjusting a claim that

Barclay filed. The plaintiff’s factual allegations against the insurance agent included: 1)

“[the agent] constantly assured Plaintiff Barclay that they were adequately insured even

though a reasonable and prudent insurance agent would testify otherwise;” 2) “[the agent]

constantly assured Plaintiff Barclay that Defendant State Farm provided certain

coverages to the insured property when apparently Defendant State Farm doesn’t;” and

3) “[the agent] misrepresented to Plaintiff that the insured person was covered by such

peril although Defendant State Farm denied such coverage.”            Against the adjuster

defendant, the plaintiff alleged the adjuster found and made up excuses to delay and

deny paying the plaintiff’s claim, made false statements pertaining to coverage of

insurance, failed to properly adjust the claim, and summarily denied the claim with

obvious knowledge and evidence of a covered peril. Based on these allegations, Judge

Miller held that the plaintiff did not assert a reasonable basis on which to recover under

any of the claims she brought against the agent or the adjuster, and thus denied the

plaintiff’s motion to remand.

       Here, as discussed above, the plaintiff’s factual claims against Princeton and Stiff

are substantively identical to the factual allegations found in the Barclay case that were

found to be insufficient to allege a claim against either the agent defendant or the adjuster

defendant. In addition to being similar to the allegations made against the individual

defendants in the Barclay case, the plaintiff’s allegations against Princeton and Stiff are

similar to allegations made against the individual defendants in Johnson, Young,

Okenkpu, Centro Cristiano Cosecha Final, Inc., Finkelman, and Centaurus Gf Cove.

Here, the plaintiff claims, in essence, that Princeton (a diverse defendant) was assigned
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to adjust the claim, and conducted a substandard investigation and improper inspection

of the property which yielded inaccurate and unrealistic assessments of the cause, extent,

and dollar amount of damage to the property. See plaintiff’s original petition at ¶ 17-19.

As against Stiff, the plaintiff claims only that Stiff sold the policy at issue to the plaintiff

and represented to the plaintiff that the policy included wind and hailstorm coverage. See

id. at ¶ 17-19.

        These allegations are similar, if not identical, to the allegations found in the cases

cited and discussed herein in which remand was denied on the ground that the plaintiff

failed to allege a reasonable basis for the court to predict that the plaintiff could recover.

Based on these authorities, the plaintiff’s claims against Princeton and Stiff have been

improperly joined and Princeton’s and Stiff’s citizenship should be disregarded for the

purpose of assessing diversity jurisdiction with respect to the plaintiff’s claims against

Travelers.

       D. This case is “but another in a long line of cases in which attorneys for an
          insured-plaintiff joined as a defendant in a lawsuit filed against an
          insurance company” the insurance adjuster and agent to avoid removal.

       As Judge McBryde in the Northern District of Texas judge recently noted in a 2016

case similar, if not substantively identical, to the case at hand, this case is “but another in

a long line of cases in which attorneys for an insured-plaintiff joined as a defendant in a

lawsuit filed against an insurance company to recover policy benefits the insurance

adjuster or another representative of the insurance company in an effort to avoid removal

of the case from state court to federal court.” Patel v. Acceptance Indem. Ins. Co., 2016

U.S. Dist. LEXIS 10300, *7 (N.D. Tex. Jan. 28, 2016). By extension, the same reasoning
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behind Judge McBryde’s holding in Patel, as discussed below, applies equally to agent

defendants as it does to adjuster defendants.

        In Patel, the plaintiff filed suit against Acceptance Indemnity Insurance Company

and adjuster Charles Payne related to an insurance coverage dispute arising out of a

storm. Id. at *1-2. Acceptance removed the case to federal court alleging that the

Northern District had subject matter jurisdiction by reason of diversity of citizenship. Id.

at *2. Acceptance contended that the Texas citizenship of Payne should be disregarded

because he was not properly joined as a defendant. Id. The plaintiff then filed a motion

to remand, which the court ultimately denied. Id. at 1-2. In doing so, the court reasoned

that the plaintiff’s allegations were related to the investigation and estimation of damages,

while the plaintiff’s claims arose out of an alleged breach by the insurer of its duty and the

insurer’s denial of the claim. Id. at *8. The court further reasoned that:

        [w]hile it is true that plaintiff’s complaint includes what appear to be factual
        allegations related to [the adjuster], a close analysis discloses that they are
        nothing more than mere conclusions. No facts are alleged that would
        plausibly lead to the conclusion that plaintiff suffered any damage by reason
        of the conduct of [the adjuster], bearing in mind that ultimately [the
        insurance company], not [the adjuster], was responsible for insurance
        coverage.

Id. at *9.

        The case at issue here bears striking resemblance to Patel. Here, as in Patel, the

plaintiff’s allegations against Princeton relate only to Princeton’s investigation and

estimation of damages, while the plaintiff’s claims against Travelers relate to Travelers’

alleged breach and denial of the claim. See id. at *8. In the same way, the plaintiff’s

allegations against Stiff relate only to Stiff’s role in selling the Travelers policy to the

plaintiff, whereas, again, the plaintiff’s claims against Travelers related to Travelers’
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alleged breach and denial of the claim. Also, as in Patel, a close analysis of the plaintiff’s

allegations reveal that “[n]o facts are alleged that would plausibly lead to the conclusion

that plaintiff suffered any damage by reason of the conduct of [Princeton], bearing in mind

that ultimately [Travelers], not [Princeton], was responsible for insurance coverage.” See

id. at *9. The same is true of the plaintiff’s claims against Stiff. Ultimately, this case is

“but another in a long line of cases in which attorneys for an insured-plaintiff joined as a

defendant in a lawsuit filed against an insurance company to recover policy benefits the

insurance adjuster or another representative of the insurance company in an effort to

avoid removal of the case from state court to federal court.” See id. at *7.

       Based on Patel and all other authorities cited herein, the plaintiff’s claims against

Princeton and Stiff have been improperly joined and both Princeton’s and Stiff’s

citizenship should be disregarded for the purpose of assessing diversity jurisdiction with

respect to the plaintiff’s claims against Travelers.

                                           IV.
                                       TIMELINESS

       Travelers has not been served with process and the plaintiff’s original petition.

Princeton was served with process and the plaintiff’s original petition on March 11, 2017.

Thirty days have not elapsed since Travelers was served with process. Accordingly,

pursuant to 28 U.S.C. § 1446, this notice of removal is timely and proper.

                                          V.
                                     ATTACHMENTS

       Pursuant to 28 U.S.C. § 1446(a), Local Rule 3, and Local Rule 81, the following

exhibits are attached hereto and incorporated herein by reference for all purposes:

       a. Exhibit A:    Civil action cover sheet;
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       b. Exhibit B:     Copies of all executed processes in the case, if any;

       c. Exhibit C:     Copies all pleadings asserting causes of action and all answers to

                         such pleadings;

       d. Exhibit D:     Copies of all orders signed by the state court judge, if any;

       e. Exhibit E:     A copy of the state court docket sheet;

       f.   Exhibit F:   An index of matters being filed;

       g. Exhibit G:     A list of all counsel of record, including addresses, telephone

                         numbers, and parties represented;

       h. Exhibit H:     Charleston Princeton II’s consent to removal; and

       i.   Exhibit I:   Cleveland Stiff, Junior’s consent to removal.

                                         VI.
                                CONDITIONS PRECEDENT

       Travelers has tendered the filing fee required by the Clerk of the United States

District Court for the Southern District of Texas, Houston Division, along with this notice

of removal. A copy of this notice of removal is also being filed in the 113th Judicial District

Court of Harris County, Texas, and all counsel of record are being provided with complete

copies.

                                             VII.
                                           PRAYER

       WHEREFORE, PREMISES CONSIDERED, The Travelers Home and Marine

Insurance Company respectfully requests that the above action, styled: Cause No. 2017-

13247; Valerie Milan Mendoza v. The Travelers Home and Marine Insurance Company,

Charleston Princeton II, and Cleveland Stiff, Junior, originally filed in the 113th Judicial

District Court of Harris County, be removed to this Court.
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                                               Respectfully submitted,

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                                               ATTORNEYS FOR DEFENDANT,
                                               THE TRAVELERS HOME AND
                                               MARINE INSURANCE COMPANY




                             CERTIFICATE OF SERVICE

       I do hereby certify that on the 5th day of April, 2017, I electronically filed the
foregoing with the Clerk of Court using the CM/ECF system and also forwarded it to all
known counsel of record by Certified Mail, Return Receipt Requested.



                                               /s/ Greg C. Wilkins         __________
                                                 Greg C. Wilkins
